 1   BROWN AND SEELYE PLLC                                               HONORABLE TIMOTHY W. DORE
     Ellen Ann Brown Esq.                                                HEARING DATE: July 10, 2019
     Susan H. Seelye Esq.                                                          TIME: 9:30 am
 2   744 South Fawcett Ave
     Tacoma, WA 98402                                                               Chapter 13
     Telephone 253-573-1958                                                         Seattle WA
 3   Facsimile 253-274-1200

 4                  IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                         WESTERN DISTRICT COURT OF WASHINGTON
 5

 6
     Re
                                                         In Chapter 13 Proceeding
 7
     CASEY LYNN PIRIE                                    No. 19-11580-TWD
 8
                                                         RESPONSE TO TRUSTEE’S
                       Debtor(s)                         OBJECTION TO CONFIRMATION
 9
     ______________________________

10
     COMES NOW the above-referenced debtor(s) through their attorneys of record and states:
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      This matter is set for confirmation on July 10, 2019 but the Trustee’s Objection to Confirmation
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     was not filed until late in the day today and Debtor’s attorney will need time to review and make
13
     any necessary amendments to the schedules and Plan in this matter. The Trustee set a Motion
14
     to Dismiss for August 7, 2019 at 9:30 am and it is requested that this Objection be continued to
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     the same date and time in order to address the Trustee’s issues, make any necessary
16
     amendments, and file a response to any additional matters that the Debtor may object to.
17
          Dated July 2, 2019.
18
          /s/ Ellen Ann Brown
19
          ____________________________________
          ELLEN ANN BROWN WSB#27992
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          Attorneys for Debtor(s)
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     RESPONSE                       Page 1                            BROWN and SEELYE PLLC
                                                                         744 South Fawcett Ave.
                                                                             Tacoma, WA 98402
                                                                                253-573-1958
